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                 1   James F. Lewin (SBN 140268)
                     Kelsey Luu (SBN 315593)
                 2   THE MORTGAGE FIRM, PLC
                 3   27455 Tierra Alta Way, Suite B
                     Temecula, California 92590
                 4   Telephone: (619) 465-8200
                     Facsimile: (951) 225-4073
                 5   Kelsey.Luu@mtglawfirm.com
                 6   TMLF File No. 147087

                 7   Attorneys for Movant,
                     NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
                 8
                 9                              UNITED STATES BANKRUPTCY COURT

             10                     EASTERN DISTRICT OF CALIFORNIA – MODESTO DIVISION

             11
                     In re:                                        )   Case No.: 19-90420
             12                                                    )   Chapter: 7
             13                                                    )
                     RILEY RAY NARMORE,DENISE                      )   D.C. No. KXL-001
             14      RENAY NARMORE,                                )
                                                                   )   CERTIFICATE OF SERVICE
             15                                                    )
             16                                                    )
                                                                   )   MOTION FOR RELIEF FROM THE
             17                                Debtors.            )   AUTOMATIC STAY HEARING:
                                                                   )   Date: 08/29/2019
             18                                                    )   Time: 10:00 a.m.
             19                                                    )   Suite: 4
                                                                   )   Place: 1200 I Street
             20                                                    )          Modesto, CA 95354
                                                                   )
             21                                                    )
             22                                                    )   Judge: Ronald H. Sargis
                                                                   )
             23                                                    )
                                                                   )
             24
             25
                              I am employed in the County of Riverside, State of California. I am over the age of
             26
                     eighteen (18) and not a party to the within action. My business address is 27455 Tierra Alta
             27
                     Way, Suite B, Temecula, CA 92590.
                                                                     1
             28                                           CERTIFICATE OF SERVICE
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                 1          On July 19, 2019, I served the foregoing documents described as MOTION FOR
                 2   RELIEF       FROM       THE      AUTOMATIC           STAY,      NOTICE        OF     HEARING,
                 3   MEMORANDUM OF POINTS & AUTHORITIES, DECLARATION IN SUPPORT,
                 4   RELIEF FROM STAY INFORMATION SHEET, and EXHIBITS IN SUPPORT on the
                 5   following individuals by depositing true copies thereof in the United States first class mail at
                 6
                     Temecula, California, enclosed in a sealed envelope, with postage paid, addressed as follows:
                 7
                            SEE ATTACHED SERVICE LIST
                 8
                      [X]   (BY MAIL) I caused such envelope with postage thereon fully prepaid to be placed in the
                 9          United States mail at Temecula, California. I am readily familiar with the firm’s business
             10             practice for collection and processing of correspondence for mailing with the U.S. Postal
                            Service pursuant to which practice the correspondence is deposited with the U.S. Postal
             11             Service the same day in the ordinary course of business.
             12       []    (BY FEDEX OVERNITE - NEXT DAY DELIVERY) I placed true and correct copies of
                            thereof enclosed in a package designated by FedEx with the delivery fees provided for.
             13
                      []    (BY FACSIMILE) The facsimile machine I used, with telephone no. (951) 308-0055,
             14             complied with California Rules of Court, Rule 2003, and no error was reported by the
                            machine. Pursuant to California Rules of Court, Rule 2006(d), I caused the machine to
             15             print a transmission record of the transmission, a copy of which is attached to the original
             16             Proof of Service.
                      []    (BY PERSONAL DELIVERY VIA NATIONWIDE LEGAL) I caused personal delivery
             17
                            by NATIONWIDE LEGAL of said document(s) to the offices of the addressee(s) as set
             18             forth on the attached service list.
             19
                      []    (BY CM/ECF ELECTRONIC SERVICE) Pursuant to CM/ECF System, registration as a
             20             CM/ECF user constitutes consent to electronic service through the Court’s transmission
                            facilities. The Court’s CM/ECF systems sends an e-mail notification of the filing to the
             21             parties and counsel of record listed above who are registered with the Court’s EC/ECF
             22             system.
                      [X]   (FEDERAL) I declare that I am employed in the office of a member of the bar of this
             23             court at whose direction the service was made.
             24
             25              I declare under penalty of perjury of the laws of the United States that the foregoing is
                     true and correct. Executed on July 19, 2019, at Temecula, California.
             26
                             /s/__Susan Ramirez_______________________
             27               Susan Ramirez
                                                                     2
             28                                           CERTIFICATE OF SERVICE
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                 1
                                                       SERVICE LIST
                 2                                   BK Case No.: 19-90420
                 3                   In re RILEY RAY NARMORE,DENISE RENAY NARMORE

                 4
                     PARTIES SERVED BY ECF ELECTRONIC MAIL: None.
                 5
                     PARTIES SERVED BY U.S. MAIL:
                 6
                 7   Debtors’ Counsel:
                     Randall K. Walton
                 8   1509 K Street # 175
                     Modesto, CA 95354
                 9
             10      Debtor:
                     Riley Ray Narmore
             11      3054 Dakota Ave
                     Modesto, CA 95358-9779
             12
             13      Joint Debtor:
                     Denise Renay Narmore
             14      3054 Dakota Ave
                     Modesto, CA 95358-9779
             15
             16      Judge:
                     Honorable Ronald H. Sargis
             17      Robert T. Matsui United States Courthouse
             18      501 I Street Suite 3-200
                     Sacramento, CA 95814
             19
                     Chapter 7 Trustee:
             20      Irma Edmonds
             21      PO Box 3608
                     Pinedale, CA 93650
             22
                     United States Trustee:
             23      Office of the U.S. Trustee
             24      Robert T Matsui United States Courthouse
                     501 I Street , Room 7-500
             25      Sacramento, CA 95814
             26      ///
             27      ///
                     ///
                                                                  3
             28                                        CERTIFICATE OF SERVICE
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                 1                                     SERVICE LIST
                                                     BK Case No.: 19-90420
                 2                   In re RILEY RAY NARMORE,DENISE RENAY NARMORE
                 3
                 4   Junior Lienholder:
                     Chase Mortgage
                 5   Attention: Officer, Managing, or General Agent
                 6   Mail Code: OH4-7302
                     PO Box 24696
                 7   Columbus, OH 43224-0696
                 8
                 9
                     PARTIES SERVED BY CERTIFIED MAIL: None.
             10
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                                                                  4
             28                                        CERTIFICATE OF SERVICE
